4:11-cr-03110-RGK-CRZ              Doc # 97   Filed: 08/10/12    Page 1 of 1 - Page ID # 232




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                  4:11CR3110
                                               )
              v.                               )
                                               )
KENNETH A. JONES,                              )                    ORDER
                                               )
                      Defendant.               )
                                               )


       Because defense counsel will be filing a motion to withdraw,


       IT IS ORDERED that on the court’s own motion, this matter is continued until further
order of the court.

       DATED this 10 th day of August, 2012.

                                              BY THE COURT:

                                              Richard G. Kopf
                                              Senior United States District Judge
